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AO 440(Rev. 6/12) Summons in a Civil Action (Page 2)
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Civil Action No. 220cv11181CASJPR                            Case Name: Neman Brothers & Assoc., Inc. vs Interfocus, Inc. d.b.a. www.patpat.com


                                                              PROOF OF SERVICE
                         (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)
        This summons for: Can Wang; an individual
        was received by me on January 7, 2021

            I personally served the Summons on First Amended Complaint and First Amended Complaint; Civil Cover
            Sheet; Certification and Notice of Interested Parties; Report on the Filing or Determination on an Action or
            Appeal Regarding a Copyright on the individual at , , on 1:51 PM


            I left the above listed documents at the individual's residence or usual place of abode with ,a person of suitable
            age and discretion who resides there, on (date) , and mailed a copy to the individual's last known address; or




            I served the above listed documents to , who is designated by law to accept service of process on behalf of Can
            Wang; an individual on January 14, 2021 1:51 PM
          Sub served Jame Park Manager of UPS Store, Person Apparently in Charge
                               Race: Asian Sex: Male Age: 40yrs Height: 6'0 Weight: 170lbs Hair: Black
            I returned the above listed documents unexecuted because;

            other (specify):

        My fees are $ .00 for travel and $ 50.00 for services, for a total of $ 50.00

        I declare under penalty of perjury that this information is true.




Date: January 14, 2021
                                                                                                    Server's signature




                                                                                                  Gabriel Aragon
                                                                                                  Printed name and title


                                                                                           Contracted by DDS Legal Support
                                                                                                  2900 Bristol Street
                                                                                                Costa Mesa, CA 92626
                                                                                                    (714) 662-5555
                                                                                                    Server's Address




                                                                                                                             A0440-104206B
                   Case 2:20-cv-11181-CAS-JPR Document 22 Filed 04/08/21 Page 3 ofFOR
Attorney or Party without Attorney:                                                3 COURT
                                                                                      Page     ID #:187
                                                                                           USE ONLY

   Chan Yong Jeong, Esq., SBN: 255244
   Jeong & Likens, LC
   222 S Oxford Ave
   Los Angeles, CA 900045105                                                              info@jeonglikens.com;jeong@
                                                                  E-MAIL ADDRESS (Optional):
                                                                 jeonglikens.com
TELEPHONE No.:      (213) 688-2001                         FAX No. (Optional): (213) 688-2002
                                                                                               Ref No. or File No.:
Attorney for:   Plaintiff Neman Brothers & Assoc., Inc.
                                                                                               Neman Brothers v Interfocus
Insert name of Court, and Judicial District and Branch Court:

   UNITED STATES DISTRICT COURT - FOR THE CENTRAL DISTRICT OF CALIFORNIA

   Plaintiff:   Neman Brothers & Assoc., Inc.
Defendant:      Interfocus, Inc. d.b.a. www.patpat.com

                                                                        HEARING DATE:                     TIME:       DEPT.:      CASE NUMBER:
          PROOF OF SERVICE                                                                                                                220cv11181CASJPR
              BY MAIL


1. I am over the age of 18 and not a party to this action. I am employed in the county where the mailing occured.

2. I served copies of the Summons on First Amended Complaint and First Amended Complaint; Civil Cover Sheet;
   Certification and Notice of Interested Parties; Report on the Filing or Determination on an Action or Appeal Regarding a
   Copyright;

3. By placing a true copy thereof enclosed in a sealed envelope, with First Class postage thereon fully prepaid, in the United
   States Mail at Costa Mesa, California, addressed as follows:

   a. Date of Mailing:                                          January 15, 2021
   b. Place of Mailing:                                         Costa Mesa, CA
   c. Addressed as follows:                                     Can Wang; an individual
                                                                650 Castro St Ste 120 box 458
                                                                Mountain View, CA 94041-2055

I am readily familiar with the firm's practice for collection and processing of documents for mailing. Under that practice, it
would be deposited within the United States Postal Service, on that same day, with postage thereon fully prepaid at Costa
Mesa, California in the ordinary course of business.




Fee for Service: $ 50.00
        DDS Legal Support                                                                         I declare under penalty of perjury under the laws of the
        2900 Bristol Street                                                                       The State of California that the foregoing information
        Costa Mesa, CA 92626                                                                      contained in the return of service and statement of
        (714) 662-5555                                                                            service fees is true and correct and that this declaration
        Ref: Neman Brothers v Interfocus                                                          was executed on January 25, 2021.


                                                                                                  Signature:
                                                                                                                               Monica Figueroa

                                                                     PROOF OF SERVICE BY MAIL
                                                                                                                                                 Order#: 104206B/mailproof
